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                           FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT


           VIP PRODUCTS LLC, an Arizona              No. 18-16012
           limited liability company,
                    Plaintiff-Counter-Defendant-        D.C. No.
                                      Appellant,     2:14-cv-02057-
                                                         SMM
                            v.

           JACK DANIEL’S PROPERTIES, INC., a           OPINION
           Delaware corporation,
                  Defendant-Counter-Plaintiff-
                                    Appellee.

                 Appeal from the United States District Court
                          for the District of Arizona
               Stephen M. McNamee, District Judge, Presiding

                   Argued and Submitted February 7, 2020
                     Arizona State University, Phoenix

                            Filed March 31, 2020

              Before: A. Wallace Tashima, Andrew D. Hurwitz,
                      and Eric D. Miller, Circuit Judges.

                          Opinion by Judge Hurwitz
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                                    SUMMARY *


                                     Trademark

              The panel affirmed in part, vacated in part, and reversed
          in part the district court’s judgment after a bench trial and
          permanent injunction in favor of Jack Daniel’s Properties,
          Inc., in a trademark suit brought by VIP Products, LLC,
          concerning VIP’s “Bad Spaniels Silly Squeaker” dog toy,
          which resembled a bottle of Jack Daniel’s Old No. 7 Black
          Label Tennessee Whiskey but had light-hearted, dog-related
          alterations.

              The panel affirmed the district court’s summary
          judgment in favor of Jack Daniel’s on the issues of aesthetic
          functionality and distinctiveness. The panel held that the
          district court correctly found that Jack Daniel’s trade dress
          and bottle design were distinctive and aesthetically
          nonfunctional, and thus entitled to trademark protection.
          Accordingly, the district court correctly rejected VIP’s
          request for cancellation of Jack Daniel’s registered
          trademark. The district court also correctly rejected VIP’s
          nominative fair use defense because, although the Bad
          Spaniels toy resembled Jack Daniel’s trade dress and bottle
          design, there were significant differences between them,
          most notably the image of a spaniel and the phrases on the
          Bad Spaniels label.

              Vacating the district court’s judgment on trademark
          infringement, the panel concluded that the Bad Spaniels dog
          toy was an expressive work entitled to First Amendment

              *
                This summary constitutes no part of the opinion of the court. It
          has been prepared by court staff for the convenience of the reader.
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          protection. Accordingly, the district court erred in finding
          trademark infringement without first requiring Jack Daniel’s
          to satisfy at least one of the two prongs of the Rogers test,
          which requires a plaintiff to show that the defendant’s use of
          a mark is either (1) not artistically relevant to the underlying
          work or (2) explicitly misleads consumers as to the source or
          content of the work.

              The panel reversed the district court’s judgment on
          claims of trademark dilution by tarnishment. Although VIP
          used Jack Daniel’s trade dress and bottle design to sell Bad
          Spaniels, they were also used to convey a humorous
          message, which was protected by the First Amendment. VIP
          therefore was entitled to judgment in its favor on the federal
          and state law dilution claims.

              In summary, the panel affirmed the district court’s
          summary judgment in favor of Jack Daniel’s on the issues of
          aesthetic functionality and distinctiveness, affirmed the
          judgment as to the validity of Jack Daniel’s registered mark,
          reversed the judgment on the issue of dilution, vacated the
          judgment after trial on the issue of infringement, and
          remanded for further proceedings. The panel also vacated
          the permanent injunction prohibiting VIP from
          manufacturing and selling the Bad Spaniels dog toy.


                                   COUNSEL

          David G. Bray (argued), David N. Ferrucci, and Holly M.
          Zoe, Dickinson Wright PLLC, Phoenix, Arizona, for
          Plaintiff-Counter-Defendant-Appellant.

          D. Peter Harvey (argued), Harvey & Company, San
          Francisco, California; Isaac S. Crum, Rusing Lopez &
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          Lizardi PLLC, Tucson, Arizona; for Defendant-Counter-
          Plaintiff-Appellee.


                                  OPINION

          HURWITZ, Circuit Judge:

              VIP Products sells the “Bad Spaniels Silly Squeaker”
          dog toy, which resembles a bottle of Jack Daniel’s Old No.
          7 Black Label Tennessee Whiskey, but has light-hearted,
          dog-related alterations. For example, the name “Jack
          Daniel’s” is replaced with “Bad Spaniels,” “Old No. 7” with
          “Old No. 2,” and alcohol content descriptions with
          “43% POO BY VOL.” and “100% SMELLY.” After Jack
          Daniel’s Properties, Inc. (“JDPI”) demanded that VIP cease
          selling the toy, VIP filed this action, seeking a declaration
          that the toy did not infringe JDPI’s trademark rights or, in
          the alternative, that Jack Daniel’s trade dress and bottle
          design were not entitled to trademark protection. JDPI
          counterclaimed, asserting trademark infringement and
          dilution. After ruling on cross-motions for summary
          judgment and conducting a four-day bench trial, the district
          court found in favor of JDPI and issued a permanent
          injunction enjoining VIP from manufacturing and selling the
          Bad Spaniels toy.

              We affirm the district court’s summary judgment in
          favor of JDPI on the issues of aesthetic functionality and
          distinctiveness. However, because the Bad Spaniels dog toy
          is an expressive work entitled to First Amendment
          protection, we reverse the district court’s judgment on the
          dilution claim, vacate the judgment on trademark
          infringement, and remand for further proceedings.
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                                       I

             A. Factual Background

              VIP designs, markets, and sells “Silly Squeakers,”
          rubber dog toys that resemble the bottles of various well-
          known beverages, but with dog-related twists. One Silly
          Squeaker, for example, resembles a Mountain Dew bottle,
          but is labeled “Mountain Drool.” VIP’s purported goal in
          creating Silly Squeakers was to “reflect” “on the
          humanization of the dog in our lives,” and to comment on
          “corporations [that] take themselves very seriously.” Over a
          million Silly Squeakers were sold from 2007 to 2017.

              In July of 2013, VIP introduced the Bad Spaniels
          squeaker toy. The toy is roughly in the shape of a Jack
          Daniel’s bottle and has an image of a spaniel over the words
          “Bad Spaniels.” The Jack Daniel’s label says, “Old No. 7
          Brand Tennessee Sour Mash Whiskey;” the label on the Bad
          Spaniels toy instead has the phrase “the Old No. 2, on your
          Tennessee Carpet.” A tag affixed to the Bad Spaniels toy
          states that the “product is not affiliated with Jack Daniel
          Distillery.”

             B. Procedural History

              In 2014, JDPI “demand[ed] that VIP cease all further
          sales of the Bad Spaniels toy.” VIP responded by filing this
          action, seeking a declaration that the Bad Spaniels toy “does
          not infringe or dilute any claimed trademark rights” of JDPI
          and that Jack Daniel’s trade dress and bottle design are not
          entitled to trademark protection. The complaint also sought
          cancellation of the Patent and Trademark Office registration
          for Jack Daniel’s bottle design. JDPI counterclaimed,
          alleging state and federal claims for infringement of JDPI’s
          trademarks and trade dress, see 15 U.S.C. §§ 1114(1),
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          1125(a)(1); A.R.S. §§ 44-1451, et seq., and dilution by
          tarnishment of the trademarks and trade dress, see 15 U.S.C.
          § 1125(c); A.R.S. § 44-1448.01.

              VIP moved for summary judgment, and JDPI cross-
          moved for partial summary judgment. The district court
          denied VIP’s motion and granted JDPI’s. The district court
          held that VIP was not entitled to the defenses of nominative
          and First Amendment fair use. The district court rejected the
          nominative fair use defense because VIP “did not use JDPI’s
          identical marks or trade dress in its Bad Spaniels toy.” The
          district court rejected JDPI’s First Amendment defense
          because the trade dress and bottle design were used “to
          promote a somewhat non-expressive, commercial product.”

              The district court also found as a matter of law that Jack
          Daniel’s trade dress and bottle design were distinctive, non-
          generic, and nonfunctional, and therefore entitled to
          trademark protection. This left for trial only JDPI’s dilution
          by tarnishment claims and whether JDPI could establish the
          likelihood of confusion for trademark infringement. See
          Kendall-Jackson Winery, Ltd. v. E. & J. Gallo Winery,
          150 F.3d 1042, 1046–47 (9th Cir. 1998) (“To state an
          infringement claim . . . a plaintiff must meet three basic
          elements: (1) distinctiveness, (2) nonfunctionality, and
          (3) likelihood of confusion.”).

              After a four-day bench trial, the district court found that
          JDPI had established dilution by tarnishment and
          infringement of JDPI’s trademarks and trade dress. The
          court permanently enjoined VIP “from sourcing,
          manufacturing, advertising, promoting, displaying,
          shipping, importing, offering for sale, selling or distributing
          the Bad Spaniels dog toy.”
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                                       II

              We have jurisdiction of VIP’s appeal under 28 U.S.C.
          § 1291. We review the grant of summary judgment and the
          district court’s conclusions of law following a bench trial de
          novo. See Lenz v. Universal Music Corp., 815 F.3d 1145,
          1150 (9th Cir. 2016); Dolman v. Agee, 157 F.3d 708, 711
          (9th Cir. 1998). The “district court’s findings of fact
          following a bench trial are reviewed for clear error.” Id. at
          711.

             A. Aesthetic Functionality and Distinctiveness

              To obtain trademark protection, a product’s trade dress
          or design must be nonfunctional and distinctive. See Wal-
          Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210
          (2000); Talking Rain Beverage Co., Inc. v. S. Beach
          Beverage Co., 349 F.3d 601, 603 (9th Cir. 2003). “[T]he
          proper inquiry is not whether individual features of a product
          are functional or nondistinctive but whether the whole
          collection of features taken together are functional or
          nondistinctive.” Kendall-Jackson Winery, 150 F.3d at 1050.

                The district court correctly found Jack Daniel’s trade
          dress and bottle design are distinctive and aesthetically
          nonfunctional. Although whiskey companies use many of
          the individual elements employed by JDPI on their bottles,
          the Jack Daniel’s trade dress “is a combination [of] bottle
          and label elements,” including “the Jack Daniel’s and Old
          No. 7 word marks,” and the district court correctly found that
          these elements taken together are both nonfunctional and
          distinctive. See Tie Tech, Inc. v. Kinedyne Corp., 296 F.3d
          778, 785 (9th Cir. 2002) (stating that “‘an assurance that a
          particular entity made, sponsored, or endorsed a product,’
          . . . if incorporated into the product’s design by virtue of
          arbitrary embellishment” is not functional (quoting Vuitton
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          et Fils S.A. v. J. Young Enters., Inc., 644 F.2d 769, 774 (9th
          Cir. 1981))).

              VIP also failed to rebut the presumption of
          nonfunctionality and distinctiveness of the Jack Daniel’s
          bottle design, which is covered by Trademark Registration
          No. 4,106,178. See Tie Tech, 296 F.3d at 783 (“[T]he
          plaintiff in an infringement action with a registered mark is
          given the prima facie or presumptive advantage on the issue
          of validity, thus shifting the burden of production to the
          defendant to prove otherwise.”). None of the evidence cited
          by VIP demonstrates that, “taken together,” the elements of
          the bottle design registration—including “an embossed
          signature design comprised of the word ‘JACK
          DANIEL’”—are functional or nondistinctive. The district
          court therefore correctly rejected VIP’s request for
          cancellation of the registered mark.

              B. Nominative Fair Use Defense

              The district court also correctly rejected VIP’s
          nominative fair use defense. Although the Bad Spaniels toy
          resembles JDPI’s trade dress and bottle design, there are
          significant differences between them, most notably the
          image of a spaniel and the phrases on the Bad Spaniels label.
          These differences preclude a finding of nominative fair use.
          See Playboy Enters., Inc. v. Welles, 279 F.3d 796, 801 (9th
          Cir. 2002); E.S.S. Entm’t 2000, Inc. v. Rock Star Videos, Inc.,
          547 F.3d 1095, 1099 (9th Cir. 2008) (finding nominative fair
          use defense did not apply where mark was “not identical to
          the plaintiff’s” mark).

              C. First Amendment Defense

             “In general, claims of trademark infringement under the
          Lanham Act are governed by a likelihood-of-confusion test,”
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          Twentieth Century Fox Television v. Empire Distribution,
          Inc., 875 F.3d 1192, 1196 (9th Cir. 2017), which seeks to
          strike the appropriate balance between the First Amendment
          and trademark rights, see Gordon v. Drape Creative, Inc.,
          909 F.3d 257, 264 (9th Cir. 2018). The likelihood-of-
          confusion test requires that the plaintiff have “a valid,
          protectable trademark” and defendant’s “use of the mark is
          likely to cause confusion.” S. Cal. Darts Ass’n v. Zaffina,
          762 F.3d 921, 929 (9th Cir. 2014) (quoting Applied Info.
          Scis. Corp. v. eBAY, Inc., 511 F.3d 966, 969 (9th Cir. 2007)).

              When “artistic expression is at issue,” however, the
          general likelihood-of-confusion test “fails to account for the
          full weight of the public’s interest in free expression.”
          Gordon, 909 F.3d at 264 (quoting Mattel, Inc. v. MCA
          Records, 296 F.3d 894, 900 (9th Cir. 2002)). Accordingly,
          we have held that the Lanham Act only applies to expressive
          works if the plaintiff establishes one of the two requirements
          in the test set forth in Rogers v. Grimaldi, 875 F.2d 994 (2d
          Cir. 1989). See MCA Records, 296 F.3d at 902 (adopting
          Rogers test for use of a trademark in the title of an expressive
          work); see also Gordon, 909 F.3d at 267 (noting that after
          MCA Records, this Court “extended the Rogers test beyond
          a title”). Rogers requires the plaintiff to show that the
          defendant’s use of the mark is either (1) “not artistically
          relevant to the underlying work” or (2) “explicitly misleads
          consumers as to the source or content of the work.” Gordon,
          909 F.3d at 265.

              In determining whether a work is expressive, we analyze
          whether the work is “communicating ideas or expressing
          points of view.” MCA Records, 296 F.3d at 900 (quoting
          L.L. Bean, Inc. v. Drake Publishers, Inc., 811 F.2d 26, 29
          (1st Cir. 1987)). A work need not be the “expressive equal
          of Anna Karenina or Citizen Kane” to satisfy this
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           requirement, Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1241
           (9th Cir. 2013), and is not rendered non-expressive simply
           because it is sold commercially, see MCA Records, 296 F.3d
           at 906–07.

               We recently had “little difficulty” concluding that
           greeting cards, which combined the trademarked phrases
           “Honey Badger Don’t Care” and “Honey Badger Don’t Give
           a S - - -” alongside announcements of events such as
           Halloween and a birthday, were “expressive works” entitled
           to First Amendment protection. Gordon, 909 F.3d at 261–
           63, 268. Even if the cards did not show great “creative
           artistry,” they were protected under the First Amendment
           because the cards “convey[ed] a humorous message through
           the juxtaposition of an event of some significance—a
           birthday, Halloween, an election—with the honey badger’s
           aggressive assertion of apathy.” Id. at 268–69.

               Like the greeting cards in Gordon, the Bad Spaniels dog
           toy, although surely not the equivalent of the Mona Lisa, is
           an expressive work. See Empire Distribution, 875 F.3d
           at 1196 (“We decide this legal question de novo.”). The toy
           communicates a “humorous message,” see Gordon, 909
           at 268–69, using word play to alter the serious phrase that
           appears on a Jack Daniel’s bottle—“Old No. 7 Brand”—
           with a silly message—“The Old No. 2.” The effect is “a
           simple” message conveyed by “juxtaposing the irreverent
           representation of the trademark with the idealized image
           created by the mark’s owner.” L.L. Bean, Inc., 811 F.2d at
           34 (affording First Amendment protection to a message “that
           business and product images need not always be taken too
           seriously”). Unlike the book in Dr. Seuss Enterprises, L.P.
           v. Penguin Books USA, Inc., 109 F.3d 1394 (9th Cir. 1997),
           which made “no effort to create a transformative work with
           ‘new expression, meaning, or message,’” Bad Spaniels
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           comments humorously on precisely those elements that Jack
           Daniels seeks to enforce here. Id. at 1401 (quoting Campbell
           v. Acuff-Rose Music, Inc., 510 U.S. 569, 578, 580 (1994)).
           The fact that VIP chose to convey this humorous message
           through a dog toy is irrelevant. See Hurley v. Irish-Am. Gay,
           Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569 (1995)
           (“[T]he Constitution looks beyond written or spoken words
           as mediums of expression.”).

               The Fourth Circuit’s decision in Louis Vuitton Malletier
           S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252 (4th Cir.
           2007), supports our conclusion. That opinion held that dog
           toys which “loosely resemble[d]” small Louis Vuitton
           handbags were “successful parodies of LVM handbags and
           the LVM marks and trade dress” and therefore did not
           infringe the LVM trademark. 1 Id. at 258, 260, 263. The
           Fourth Circuit reasoned that although “[t]he dog toy is
           shaped roughly like a handbag; its name ‘Chewy Vuiton’
           sounds like and rhymes with LOUIS VUITTON; its
           monogram CV mimics LVM’s LV mark; the repetitious
           design clearly imitates the design on the LVM handbag; and
           the coloring is similar,” “no one can doubt . . . that the
           ‘Chewy Vuiton’ dog toy is not the ‘idealized image’ of the
           mark created by LVM.” Id. at 260. No different conclusion
           is possible here.

              Because Bad Spaniels is an expressive work, the district
           court erred in finding trademark infringement without first
           requiring JDPI to satisfy at least one of the two Rogers
           prongs. See Gordon, 909 F.3d at 265; see also E.S.S. Entm’t

               1
                 The Fourth Circuit decision was based on likelihood of confusion,
           not the First Amendment, see id. at 259–60, as it had not yet adopted the
           Rogers test, see Radiance Found., Inc. v. NAACP, 786 F.3d 316, 329 (4th
           Cir. 2015) (later applying it).
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           2000, 547 F.3d at 1101 (stating that “the First Amendment
           defense applies equally to . . . state law claims as to [a]
           Lanham Act claim”). We therefore vacate the district court’s
           finding of infringement and remand for a determination by
           that court in the first instance of whether JDPI can satisfy a
           prong of the Rogers test. 2

                D. Trademark Dilution by Tarnishment

               When the use of a mark is “noncommercial,” there can
           be no dilution by tarnishment. 15 U.S.C. § 1125(c)(3)(C);
           see A.R.S. § 44-1448.01(C)(2). Speech is noncommercial
           “if it does more than propose a commercial transaction,”
           Nissan Motor Co. v. Nissan Comput. Corp., 378 F.3d 1002,
           1017 (9th Cir. 2004) (quoting MCA Records, 296 F.3d
           at 906), and contains some “protected expression,” MCA
           Records, 296 F.3d at 906. Thus, use of a mark may be
           “noncommercial” even if used to “sell” a product. See
           Nissan Motor Co., 378 F.3d at 1017; MCA Records,
           296 F.3d at 906.

               Although VIP used JDPI’s trade dress and bottle design
           to sell Bad Spaniels, they were also used to convey a
           humorous message. That message, as set forth in Part II.C
           above, is protected by the First Amendment. VIP therefore
           was entitled to judgment in its favor on the federal and state
           law dilution claims. See Nissan Motor Co., 378 F.3d
           at 1017; MCA Records, 296 F.3d at 906.


                2
                  If the plaintiff satisfies one of the Rogers elements, “it still must
           prove that its trademark has been infringed by showing that the
           defendant’s use of the mark is likely to cause confusion.” See Gordon,
           909 F.3d at 265; see also Louis Vuitton Malletier, 507 F.3d at 260 (noting
           that the application of likelihood-of-confusion factors “depend[s] to a
           great extent on whether its products and marks are successful parodies”).
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                                             III

               We affirm the district court’s summary judgment in
           favor of JDPI on the issues of aesthetic functionality and
           distinctiveness, affirm the judgment as to the validity of
           JDPI’s registered mark, reverse the judgment on the issue
           of dilution, vacate the judgment after trial on the issue of
           infringement, and remand for further proceedings. The
           permanent injunction is vacated. 3

               AFFIRMED IN PART, REVERSED IN PART,
           VACATED IN PART, AND REMANDED. Each party
           to bear its own costs.




                3
                  Because we hold that VIP was entitled to judgment in its favor on
           the trademark dilution claims and that the judgment in favor of VIP on
           the infringement claims must be vacated, we do not address VIP’s
           alternative challenges to these claims. And, because we vacate the
           permanent injunction, we do not address VIP’s argument that the district
           court erred in not limiting the scope of the permanent injunction.
